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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

ANTHONY D. KOLTON et al.,                     )
                                              )
               Plaintiffs,                    )       No. 16-cv-3792
                                              )
       v.                                     )       Hon. Charles Kocoras
                                              )
MICHAEL W. FRERICHS, Illinois State           )
Treasurer,                                    )
                                              )
               Defendant.                     )


                              JOINT STIPULATION OF FACTS

       Plaintiffs and Defendant Michael Frerichs, in his official capacity as Illinois State

Treasurer, hereby stipulate to the following facts:

       1.      Plaintiff S. David Goldberg asserts a claim to Property ID No. 99916922555,

which is currently held by the Treasurer.

       2.      Property ID No. 99916922555 relates to an uncashed check that was originally

issued by Logitech, Inc., payable to S. David Goldberg, for an amount less than $100.

       3.      Property ID No. 99916922555 was not in an interest-bearing account when it was

delivered to the Treasurer.
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                                               Respectfully submitted,

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the Proposed Class
